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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


 LINITED STATES OF AMERICA,

                           Plaintill.                                 Civit No.   8: 18CV I   1



          vs.
                                                      COMPLAINT FOR FORFEITURE IN,R-E'I
 $3I,915.00 IN LNITED STATES
 CURRENCY.

                          Defendant.




         COMES NOW the Plaintiff, United States of Americ4 and for its cause of action against

the Defendant, states and alleges as follows:

                                         Nature of the Action

         l.     This is an action to lbrfeit property to the United States for violations of 2'l U.S.C.

$ 881.

                                        The Defendant In    .lRem


         2.     The Defendant property consists of $3 1,91 5.00 in United States cunency seized from

James Moser on September 14, 2017, during a       trallic stop on westbound on Interstate 80 near mile

marker 388 in Seward County, Nebraska. It is presently in the custody of the U.S. Customs and

Border Protection in Minneapolis, Minnesota.

                                        Jurisdiction and Venue

         3.     This Court has subject matter jurisdiction over an action commenced by the United

States under 28 U.S.C. $ 1345. and over an action for forfeiture under 28 U.S.C. $ 1355(a). This

Court also hasjurisdiction over this particular action under    2l   U.S.C. $ 881.
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       4.         This Court has rn rerz jurisdiction over the Defendant property pursuant to 28 U.S.C.

$ 1355(bXlXA) because acts or omissions giving rise to the forfeiture occurred in this district.

        5.        Venue is proper in this district pursuant to 28 U.S.C. $ 1355(b)(l)(A) because acts or

omissionp giving rise to the forfeiture occurred in this district.

                                             Basis for the Forfeiture

        6.        The Defendant property is subject to forfeiture pursuant to      2l U.S.C.   $ 881(a)(6)

because     it   constitutes   l)   money, negotiable instruments, securities and other things of value

fumished or intended to be furnished in exchange for a controlled substance in violation of the

Controlled Substances Act; 2) proceeds traceable to such an exchange; or 3) money, negotiable

instruments, and securities used and intended to be used to facilitate a violation ofthe Controlled

Substances Act.

                                                      Facts

        7   .     On September 14,2017, Seward County Sheriffs Department Sergeant Mike

Vance initiated a traffic stop on a westbound white Jeep Cherokee with Califomia license plates.

The driver and only occupant, James Michael Moser, was travelling 63 mph in a construction

zone with a 55 mph speed            limit. Upon approaching the Jeep, Sgt. Vance detected the odor of

bumt marijuana. He also saw an air freshener spray can in the vehicle and a blanket or towel

covering contents in the rear of the vehicle. Sg1. Vance explained the reason for the traffic stop;

Moser admitted he was speeding and apologized. Sgt. Vance told Moser he would issue him a

waming and directed him to come to the patrol vehicle while he processed the waming. Moser

got out of his vehicle, locked it, then went to Sgt. Vance's vehicle.

        8.        While talking with Sgt. Vance inside the patrol vehicle, Moser exhibited several

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signs which SgI. Vance believed were indicia of criminal     activity. He displayed excessive

nervousness by breathing heavily and constantly fidgeting with his hands and fingers, even

though Sgt. Vance twice told him he was only getting a waming. He gave inconsistent answers

with respect to the length and purpose of his recent trip to Chicago. He gave deceptive and

evasive answers about whether there was money or contraband in his vehicle.

       9.       While conversing with Moser, Dispatch informed Sgt. Vance Moser had a criminal

history involving narcotics. Dispatch also told Sgt. Vance to consider Moser dangerous.

       10.      Sgt. Vance asked Moser for consent to search the Jeep. Moser declined. Sgt.

Vance then detained Moser, telling him he would deploy his Nebraska-certified drug detection

canine on the vehicle. As Sgt. Vance deployed the dog, and as Moser watched from inside Sgt.

Vance's cruiser, Moser stated several times, "ln the name of Jesus, have mercy on me." The dog

indicated to the odor of controlled substance at the driver's door and at the rear hatch. Sgt. Vance

asked Moser     if   he knew why the canine indicated on his Jeep. Moser stated he had smoked

marijuana in the vehicle and there was likely some left inside.

       I   l.   Sgt. Vance and another deputy began to search the Jeep. Moser mumbled to

himself as he watched the deputies search his car, sometimes sighing and sometimes cursing. At

one point, Moser said, "Oh man. This isn't good," and then he sighed heavily.

        12.     In the passenger area, deputies found receipts showing Moser drove from Califomia

to Illinois a few months earlier. Deputies found an open bottle ofvodka under a towel on the

front passenger seat. In the rear ofthe vehicle, deputies found five bags of marijuan4 three in

vacuum-sealed bags and two in Ziploc plastic bags. All      fie marijuana in the vehicle totaled

about a half pound. The deputies also found a portable scale near the marijuana. In the spare
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tire well, deputies found seven, twenty-gallon garbage bags. Five of those bags had marijuana

residue in them. One bag had an open vacuurn-sealed bag in     it.   There was a small Sentry safe

in the spare tire well. It held three, white envelopes, all with "10K" written on them. One

envelope held two, other while envelopes, both with   "5K" written    on them. The envelopes

contained $30,000.00, cash, in various denominations. The deputies also found a small, hand-

held scale in the safe.

       13.    SgI. Vance Mirandized Moser; he agreed to speak to the sergeant. Moser said he

had been in Chicago for over a week. The money was his life savings. He has not had ajob, or

had work, in three years. He had a motorcycle accident, but was not collecting     disability. He

buys marijuana; the marijuana found in his vehicle was for personal use. Sgt. Vance asked

Moser about the large bags with residue in them. Moser said he sometimes buys marijuana in

bulk, but it is still for personal use.

       14.    Upon Moser's arrest, deputies found a glass marijuana pipe in his right, front pants

pocket with marijuana in the pipe. Moser insisted the money found in his vehicle was his life

savings, saying he did not use banks. When Sgt. Vance reminded Moser he had several bank

cards in his wallet, Moser said the cards were old and he had no money in the accounts.

However, the cards were not old; they expired in 2020. Additionally, Moser had an August,

2017, Chase Bank statement in his vehicle. It showed over $62,000.00 in the account. Moser

also had a US Bank statement in his vehicle, showing more than in the Chase Bank account.

       15.    Deputies seized the S30,000.00 in the Sentry safe found in the spare tire well.

Moser had $1,915.00, cash, in his wallet. Deputies seized that as well. Those two sums make

up the Defendant currency in this case.
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                                         Claim for Relief

       WHEREFORE, the Plaintiff, United States of America, prays that the Defendant property

be proceeded against for forfeiture in accordance with the laws, regulations and rules   ofthis Court;

that due notice be given to all interested parties to appear and show cause why forfeiture should

not be decreed; that the Defendant property be condemned, as forfeited, to the United States of

America and disposed ofaccording to law and regulations; that the costs ofthis action be assessed

against the Defendant property; and for such other and further reliefas this Court may deem just

and equitable.

                                                      LNITED STATES OF AMERICA,
                                                      Plaintiff

                                                      ROBERT C. STUART
                                                      Acting United


                                              By:
                                                      NANCY A.
                                                                                     a(ulr--
                                                                          )DA (#17429)

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                                                         VERIFICATION


STATEOFNEBRASKA                               )
                                              )    ss.
COI.JNTY OF      DOUGLAS                      )

       Pursuant to Rule C(2), Supplemental Rules for Admiralty or Maritime Claims and Asset
Forfeitwe Actions, Assistant United States Attomey for the District of Nebrask4 Nancy A.
Svobod4 being first duly sworn, deposes and states the facts set forth herein are true and correct
according to the best ofher knowledge and belief.




                                                                       NANCY A.                 (#t7429)




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       Subscribed and swom to before me                    rhis   Y     day   ofJanuary,20l8.


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             .        REBECCA K. LESSER
                       y Conrrn. &p. Jlne 9,2019




       Pursuant to the rules of this Court, the United States of America hereby requests the trial
ofthe above and foregoing action be held in Omaha, Nebrask4 and be calendared accordingly.




                                                                       NANCY A.




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